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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


WSOU INVESTMENTS, LLC d/b/a BRAZOS
LICENSING AND DEVELOPMENT,                   Case No. 6:20-cv-00480-ADA

              Plaintiff,
                                             JURY TRIAL DEMANDED
     v.

DELL TECHNOLOGIES INC., DELL INC.,
EMC CORPORATION, AND VMWARE, INC.

              Defendants.


                 LETTER OF REQUEST FOR FOREIGN DISCOVERY
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       Defendants Dell Technologies Inc., Dell Inc., EMC Corporation, and VMware, Inc.

(collectively “Defendants”) seek foreign discovery from third party witnesses residing in the

Netherlands. Defendants have attached Appendices with Letters of Request which include

Document Requests and Deposition Topics. Defendants respectfully request that the Court execute

the Letters of Request attached as Appendices A, B, and G. Defendants further request that, after

the Court has signed the Letters of Request, the Clerk of this Court authenticate the Court’s

signature under the seal of this Court, and return the original signed and sealed executed Letters,

and two certified copies of the signed and sealed executed Letters, to Defendants’ counsel, Barry

K. Shelton, for delivery to the proper authority.

       Plaintiff, WSOU Investments, LLC d/b/a Brazos Licensing and Development, indicated

that it reserves the right to serve its own foreign discovery in the future.


Dated: November 6, 2020                      By: /s/ Barry K. Shelton
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                                                    Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on November 6, 2020, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document through the

Court’s CM/ECF system under Local Rule CV-5(b)(1).

                                                           /s/ Barry K. Shelton
                                                           Barry K. Shelton




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